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                              UNITED STATES DISTRICT COURT
                          DISTRICT OF THE DISTRICT OF COLUMBIA


 MONTE A. ROSE, JR., et al.,                    )
                                                )
                  Plaintiffs,                   )
                                                )
        v.                                      )
                                                )   No. 1:19-cv-02848-JEB
 XAVIER BECERRA, et al.,                        )
                                                )
                  Defendants.                   )


                                  JOINT STATUS REPORT

       Pursuant to the Court’s minute orders of August 5 and August 8, 2024, the parties submit

this updated status report. The parties have reached agreement on the following with respect to the

motion for stay pending appeal filed by the Indiana Family and Social Services Administration

(ECF #73):

   1. The parties jointly request that the Court STAY its opinion and order vacating the Healthy

       Indiana Plan (HIP) 2.0 Demonstration Project pending appeal, except for those portions

       related to payment or non-payment of POWER account contributions, pending resolution

       of the appeal, issuance of the mandate, and disposition of any timely filed petition for cer-

       tiorari.

   2. In light of the limited vacatur, Defendant-Intervenor Indiana will suspend the invoicing

       and collection of contributions to HIP POWER accounts by HIP members for the duration

       of the stay. HIP members currently enrolled in HIP Plus will continue to be enrolled in HIP

       Plus, and new members who under the 2020 approval would have been eligible for HIP




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       Plus if they made POWER account contributions will be enrolled in HIP Plus, for the du-

       ration of the stay as long as they continue to meet all applicable eligibility requirements

       other than contributions to POWER accounts.

   3. The Centers for Medicare & Medicaid Services (“CMS”) agrees that it will not find Indiana

       out of compliance with the terms of the Demonstration Project for suspending premiums

       and maintaining enrollees in HIP Plus pursuant to Paragraph 2.

   4. The parties’ agreement is without prejudice to any argument the parties might make re-

       garding the underlying merits, and the parties’ agreement should not be construed to pre-

       vent any party from seeking relief from the limited stay for good cause shown.



Dated: August 15, 2024                              Respectfully submitted,


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